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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                          SACRAMENTO DIVISION
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14

15     RALPH COLEMAN, et al.,                             2:90-cv-00520 LKK JFM PC

16                                  Plaintiffs, DECLARATION OF JOE STEIN IN
                                                SUPPORT OF DEFENDANTS’
17               v.                             OPPOSITION TO PLAINTIFFS’ MOTION
18                                              RELATED TO USE OF FORCE AND
       EDMUND G. BROWN JR., et al.,             DISCIPLINARY MEASURES AND TO
19                                              PLAINTIFFS’ MOTION RELATED TO
                                  Defendants. THE HOUSING AND TREATMENT OF
20                                              MENTALLY ILL PRISONERS IN
                                                SEGREGATION
21

22            I, Joe Stein, declare as follows:
23            1.   I am a Captain, Adult Institutions. I am competent to testify to the matters set forth in
24     this declaration and if called upon to do so, I would and could so testify. I make this declaration
25     in support of Defendants’ Opposition to Plaintiffs’ Motion Related to Use of Force and
26     Disciplinary Measures and their Motion Related to the Housing and Treatment of Mentally Ill
27     Inmates in Segregation.
28                                                     1
       Decl. J. Stein Supp. Defs’ Opp'n. to Pls.’ Mot. Rel. to Use of Force & Discipl. Measures and Rel.
                                                to Housing & Treatment of Mentally Ill Prisoners in Seg.
                                                                                 (2:90-cv-00520 LKK JFM PC)
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 1            2.   I began my career at the California Department of Corrections and Rehabilitation

 2     (CDCR) in 1994 as a correctional officer at San Quentin State Prison. In 2000 I promoted to

 3     Sergeant and in 2001 I began working at the academy training correctional officers. In 2007 I

 4     promoted to lieutenant and accepted a position at the Division of Adult Institutions. I promoted

 5     to Correctional Counselor II, Specialist in 2008, and promoted again to Captain in 2011. Since

 6     2007, while working for the Division of Adult Institutions, I have worked almost exclusively on

 7     issues pertaining to the Coleman class action. My major projects have included the mental health

 8     collaborative training, the Rules Violation process revision in 2011, and the implementation of

 9     Guard 1 throughout CDCR.

10            3.   In their motion, Plaintiffs have proposed several unnecessary changes to CDCR’s

11     disciplinary process. These points are addressed in more detail below. CDCR takes seriously the

12     impact of mental illness on the behavior of inmates. CDCR has taken great efforts to strike a

13     balance between properly mitigating rules violations by mentally ill inmates while also ensuring

14     the safety and security of other inmates and staff.
       Training is Provided to Custody and Mental Health Staff Regarding Rules Violation and
15     Mental Health Assessment Processes
16            4.   The plaintiffs incorrectly assert that CDCR provides inadequate training to custody
17     staff regarding the Rules Violation and Mental Health Assessments processes. In October 2011,
18     CDCR instituted a revised training module for the rules violation process with a special focus on
19     Mental Health Assessments.
20            5.   CDCR’s training module was designed with input from the Special Master and
21     Plaintiffs throughout 2011. Plaintiffs offered many comments throughout the drafting process,
22     many of which were incorporated into the final product. Attached as Exhibit A is a letter from
23     Plaintiffs dated October 31, 2011, endorsing the change in the policy and offering additional
24     minor comments, some of which were incorporated in the current training module. Attached as
25     Exhibit B is a true and correct copy of the 30-page training module created as a result of this
26     policy revision.
27

28                                                     2
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 1            6.   In a memo titled “Training for Custody and Clinical Staff Regarding Mental Health

 2     Input Into the Inmate Disciplinary Process,” dated October 26, 2011, the Division of Adult

 3     Institutions informed the field that all hearing officers, senior hearing officers, captains, chief

 4     disciplinary officers, and appeals coordinators must receive four hours of revised rules violation

 5     process training. Attached as Exhibit C is a true and correct copy of this memo. In addition to

 6     those correctional job classifications, mental health staff involved in reviewing rules violation

 7     reports and preparing Mental Health Assessments was also required to attend the training.

 8            7.   Training was done collaboratively. Before any training occurred, CDCR held

 9     “Training for Trainers” sessions to ensure each trainer was appropriately educated on the criteria.

10     These “Training for Trainers” sessions were conducted jointly by a correctional lieutenant and

11     headquarters mental health staff. When the correctional and mental health staff were ultimately

12     trained on the revised policy, all classifications were trained together to ensure that both staffs

13     were aware of each other’s responsibilities.

14            8.   This training applied to all current employees within the specified job classifications

15     regardless of whether the employee had previously received training related to the rules violation

16     process.

17            9.   A subsequent memo titled “Revision to the Mental Health Assessment Request

18     Process for Rules Violation Reports (Update)” was issued on November 3, 2011. Attached as

19     Exhibit D is a true and correct copy of this memo. That memo made clear that the training shall

20     occur no later than December 30, 2011. In order to facilitate the training, a 30-page training

21     package, titled “Inmate Disciplinary Process – Mental Health Assessment Training” was created

22     with a revision date of October 24, 2011.

23            10. The training module teaches correctional officers and mental health staff the complete

24     rules violation process, including how to complete the mental health assessment. Staff is trained

25     on which inmates require staff assistants and how to identify those inmates. Staff is also trained

26     on mitigation of penalties as a result of mental illness.

27

28                                                     3
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 1     CDCR Staff Receive Training on When to Refer an Inmate for a Mental Health Assessment

 2            11. Plaintiff’s expert, Eldon Vail, opines that Correctional Clinical Case Management

 3     System level of care inmates are not referred to a Mental Health Assessment because correctional

 4     staff does “not have sufficient training or skill to evaluate the behavior of mentally ill inmates.”

 5     (Vail Rpt. ¶ 80.) Mr. Vail’s statement is incorrect. CDCR staff is trained on identifying inmates

 6     that exhibit symptoms of a mental illness or exhibit bizarre, unusual, or uncharacteristic behavior.

 7     Such symptoms, coupled with behavior that results in a rules violation, would result in a referral

 8     for a Mental Health Assessment when the offense is a Division D, E, or F offense that would not

 9     result in a Security Housing Unit term.

10            12. The October 2011 Rules Violation Reports Inmate Disciplinary Process training was

11     designed to teach custody and clinical staff to identify when an inmate’s mental health level of

12     care and behavior that leads to a rules violation requires completion of a Mental Health

13     Assessment. The training reinforces that all Enhanced Outpatient Program, Mental Health Crisis

14     Bed, and Department of State Hospital level of care inmates must be referred to a Mental Health

15     Assessment after being issued a rules violation report. The training module also reinforces that

16     all inmates at the Correctional Clinical Case Management System level of care must receive a

17     Mental Health Assessment when they are issued a Rules Violation Report for any Division A, B,

18     or C offense—the most serious offenses, such as murder, battery, and escape—or when they

19     commit an offense that may result in a Security Housing Unit term.

20            13. The training also illustrates common mental health symptoms that, if present during

21     the commission of the offense, would require referral to a Mental Health Assessment. The

22     training also gives examples of bizarre, unusual, or uncharacteristic behaviors that would lead

23     someone to believe that mental illness is influencing an inmate’s behavior.

24     Consideration of Mental Health Assessment as Mitigation.

25            14. Plaintiffs also complain that the hearing officer does not take the Mental Health

26     Assessment into consideration. Hearing officers are trained on proper mitigation techniques to

27     use when adjudicating an rules violation offense committed by a mentally ill inmate. For

28     instance, the October 2011 training recommended
                                                     4 not suspending phone privileges where the
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 1     inmate relies on positive outside contact for treatment. The training also encouraged hearing

 2     officers to reduce the severity of a rules violation to the administrative violation level, when

 3     appropriate, in order to ensure stability of treatment to a mentally ill inmate.

 4            15. There are a range of penalties for violating an institution rule resulting in an rules

 5     violation report, some of which are mandatory and some of which are discretionary. For

 6     example, a guilty finding for certain serious rule violations requires a certain level of credit

 7     forfeiture. (See Title 15 § 3323.) But in addition to mandatory penalties, hearing officers have

 8     the authority to impose administrative penalties such as the suspension of privileges, such as yard,

 9     telephone, or dayroom, a change in privilege group for no more than 30 days, confinement to

10     quarters not to exceed ten days total and not to exceed five consecutive days, assignment to no

11     more than 40 hours of extra duty, or loss of appliances for a set period of time. (See Title 15 §§

12     3314, 3315.) Therefore, a hearing officer may take the Mental Health Assessment into

13     consideration by choosing to mitigate penalties. For example, an officer may elect to not impose

14     an administrative penalty in addition to a mandatory credit forfeiture, where it may be otherwise

15     warranted.

16            16. Hearing officers are trained to review the entire rules violation packet, including any

17     Mental Health Assessment. The hearing officer is also instructed to consider the inmate’s mental

18     condition and level of care and the clinician’s comments on the Mental Health Assessment,

19     especially where mitigation of penalty is warranted.

20            17. Hearing officers are also trained to document their findings on the Rules Violation

21     Reports, specifically mentioning whether or not mental health factors were considered in

22     mitigation.

23            18. Chief Disciplinary Officers, the individual in charge of auditing completed Rules

24     Violation Hearings, were trained to investigate whether hearing officer consider the clinician’s

25     input contained within the Mental Health Assessment and whether they document the results.

26     Additionally, Chief Disciplinary Officers are trained to investigate whether the hearing officer

27     mitigated the penalty due to the Mental Health Assessment or whether the hearing officer chose

28     to disregard the recommendation. The Chief Disciplinary
                                                    5          Officer shall order the RVR reissued
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      and reheard ifhe or she finds that the inmate's due process rights were not afforded. Attached as

 2    Exhibit Eisa true and correct copy ofDOM § 52080.3.3.1.

 3    Referrals of Rules Violation Report Offenses to the District Attorney's Office

 4            19. CDCR forwards rules violations that also constitute criminal conduct to local criminal

 5    authorities for possible prosecution. Penal Code section 2932, subdivision (f), authorizes CDCR

 6    to refer cases for prosecution where the inmate's conduct constitutes a crime. Where there is

 7    substantial evidence that such a crime has occurred, section 3 316 of Title 15 mandates that CDCR

 8    shall refer the rules violation to appropriate authorities for possible investigation and prosecution.

 9            20. From time to time, it is possible that a rules violation by a mentally ill inmate is

10    referred for possible prosecution. As a law enforcement agency, CDCR has a responsibility to

11    report suspected crimes to the appropriate prosecuting authority. CDCR does not refer rules

12    violations to prosecuting authorities as a punitive matter against the inmate. CDCR refers rules

13    violations as a matter of law.

14

15    I declare under penalty of perjury under the laws of the State of California and the United States

16    of America that the foregoing is true and correct. Executed in Sacramento, California on July 24,

17    2013.

18

19

20                                                             e Stein
                                                                ptain, Adult Institutions
21                                                           Standardized Procedures Unit
22                                                   (original signature retained by attorney)
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      Dec!. J. Stem Supp. Defs' Opp'n. to Pis.' Mot. Rei. to Use of Force & DISCipl. Measures and Rei.
                                              to Housing & Treatment of Mentally Ill Prisoners in Seg.
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